      Case 1:22-cv-00226-SPB Document 1-2 Filed 07/19/22 Page 1 of 32




 TODRICK W. ARRINGTON, JR.                            IN THE COURT OF COMMON PLEAS
                                                      OF ERIE COUNTY, PENNSYLVANIA
               Plaintiff

        v.                                            CIVIL ACTION .- LAW

 CITY OF ERIE POLICE DEPARTMENT,
 MATTHEW J. GUSTAFSON; JERRY
 STEVENS; ERIE COUNTY PROBATION                       NO.    I/563 . 2022
 OFFICE; ALEX KISSELL; ASHLEY
 CLARK; ERIE COUNTY DISTRICT
 ATTORNEYS OFFICE; EMILY
 DOWNING; KHADJA HORTON; ERIE
 COUNTY PRISON; JOHN DOES (ERIE
 COUNTY PRISON GUARDS); VICTORIA
 HERMANN

               Defendants


TO: City Of Erie Police Department, Matthew J. Gustafson, Jerry Stevens, Erie County
Probation Office; Alex Kissell, Ashley Clark; Erie County District Attorney's Office, Emily
Downing, Khadja Horton, Erie County Prison, John Does (Elie County Prison Guards), Victoria
Hermann


                                 NOTICETODEFEND
       YOU HAVE BEEN SUED IN COURT. ]1` YOU WISH TO DEPEND AGAIN ST THE CLAHVIS
SET FORTH IN THE FOLLOWING PAGES, YOU MUST TAKE ACTION WITHJN TWENTY (20)
DAYS AFTER THIS COM1>LA1NT AND NOTICE ARE SERVED, BY ENTERING A WRITTEN
APPEARANCE PERSONALLY OR BY ATTORNEY AND FILING IN WRITING WITH THE COURT
YOUR DEFENSES OR OBJECTIONS TO THE CLAIMS SET FORTH AGAINST YOU. YOU ARE
WARNED THAT IF YOU FALL TO DO SO, TI-II8 CASE MAY PROCEBD WITHOUT YOU AND A
IUDGMENT MAY BE ENTERED AGAINST YOU BY TI-IE COURT WITHOUT FURTHIER NOTICE
FOR ANY MONEY CLAIMED IN THE COMPLAINT OR FOR ANY OTHER CLAHVI OR RELIEF
REQUESTED BY THE FLAINTIFF. YOU MAY LOSE MONEY OR PROPERTY OR OTHER RIGHTS
IMPORTANT TO YOU.

      YOU SHOULD TAKE THIS FAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE
A LAWYER [OR CANNOT AFFORD ONE], GO TO OR I18LEPI~1ON18 THE OFFICE SET FORTH
     Case 1:22-cv-00226-SPB Document 1-2 Filed 07/19/22 Page 2 of 32




BELGW [TO FIND OUT WHERE YOU CAN GET LEGAL HELP.] THIS OFFICE CAN PROVIDE
YOU WITH INFORMATION ABOUT I-MUNG A LAWYER.

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PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFERLEGAL SERVICES
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                             Lawyers Referral Service
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                                    PER) TZ LAW


                                      eer A. Fentz   squire, Attorney for   Plaintiff
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 TODRICK w. ARRINGTON, JR.                       IN THE COURT OF COMMON PLEAS
                                                 OP ERIE COUNTY, PENNSYLVANIA
                 Plaintiff

          V.                                     CIVIL ACTION -- LAW

 CITY OF ERIE POLICE
 DEPARTMENT, MATTHEW J.
 GUSTAFSON; JERRY STEVENS;                       no.                    - 2022
 ERIE COUNTY PROBATTON
 OFFICE; ALEX KISSELL; ASHLEY
 CLARK; ERIE COUNTY DISTRICT
 ATTORNEY'S OFFICE; EMILY
 DOWNING; KHADJA HORTON;
 ERIE COUNTY PRISON; JOHN
 DOES (ERIE COUNTY PRISON
 GUARDS); VICTORIA HERMANN

                Defendants


                                 PLAINTIFF'S COMPLAINT
         AND NOW, comes the Plaintiff, Todrick Arrington, by and through his counsel, Feter A.

Pentz, and Pents Law, and files the following Complaint against defendants, evening as follows:

                                          1. The Parties

         1.    The Plaintiff; Todrick Willis Arrington is an individual residing at 2614 Perry

Street Erie, PA 16503 .

         2.    City of Erie/City of Erie Police Department is a municipal entity that operates a

police deponent in the City of Erie with headquarters located at 626 State Street Erie, Pa

16501.

         3.    Matthew J. Gustafson at all relevant times was a detective for the City of Erie

police department and resided at 3210 Marvin Avenue Erie, PA 16504.

         4.    Defendant Jerry Stevens at relevant times was a police officer for the City of Erie

Police Department and resided at 1201 Amy Avenue Erie, PA 16504.
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         5.    Erie County Probation Office is a municipal entity overseen by the Erie County

(Pennsylvania), with an office location of 140 W 6M Street #306 Erie, PA 16501 .

         6.    Alex Kissed, at relevant times, was an individual employed as a parole agent for

the Erie County Probation Office and resided at415 Dunn Blvd. Erie, PA 16507.

         7.    Ashley Clark, at relevant times, W8S an individual employed as a parole agent

supervisor for the Erie County Probation Office and resided at 3109 West 23rd Street, Erie, PA

16506

         8.    Erie County District Attorney is a government entity existing under Erie County

with a main office at 140 W 6th Street, Suite 506 Erie, PA 16501,

         9.    Emily Downing, at relevant times, was an assistant district attorney for the Erie

County District Attorney's office and resided at 241 West Front Street Apt. 12: Erie, FA 16507

Erie, PA.

         10.   Khadija Horton at relevant times was an assistant district attorney employed by

the Erie County District Attorney's Office and residing at 1656 West Grandview Blvd, Erie, PA

16509.

         11.   Erie County Prison is a 0ovemment entity with a pnlncipal location at 1618 Ash

Street Erie, PA 16503.

         12.   John Does are unidentified guards in the Erie County Prison.

         13.   Victoria Herman, at relevant times, was employed as an Assistant Public

Defender and resided at 741 Clifton Drive, Erie, PA 16505.
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                                      2. Factual Background

        14.     Plaintiff Arrington (Jn or about May 30, 2020 was an individual residing and

employed in Erie County and on probation through the Erie County Probation Office. Mr.

A1'rington's probation had commenced on 01' about May 22, 2020.

        15.     Plaintiff A11'ington's parole agent as assigned by the Erie County Probation Office

was Alex Kissel.

       16.      On May 30, 2020 in the City of Erie, at or near Perry Square, a peaceful

protest/march was held iIi connection with Black Lives Maltel'. This marc}1 or gathering resulted

in hundreds of people walking 22 designated route before concluding the march at Perry Square.

Apparently, at some point amer the march, members of a crowd in the area became disruptive

and caused damage to various property in downtown Erie.

       17.      City of Erie Police were present at this protest/march and in various ways

interacted and engaged with the protesters. Apparently during this protest, or sometime prior to

May 31, 2020, three double parking meters located on the 600 block of State Street were

knocked over and dislodged from their bases.

       18.      Plaintiff An-ington. was not present at the Black Lives Matter rally held on May

30, 2020 and was not anywhere in the area of the 600 block of State Street 011 either May 30 or

May 31, 2020.

       19.      Instead, Plailltiff A11i11gton, at all 1elevant times on May 30, 2020 and May 31,

2020 was at a family member's house where he was them residing, at 628 East 24'1' Street, Erie,

PA andthroughout this time was with a friend, Daeojzhanae Nobel.

       20.      Apparently, Defendant Gustafson, on May 31, 2020, was assigned by the City of

Erie Police Department to investigate the damage to parking meters that occurred on or about

May 30, 2020.
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            21.   At some point deI"lenda11t Gustafson viewed a social media video posted by

Tyquan Young (hereinafter "Young video."). The audio of the posted Young video includes a

loud noise after which the person recording the video rotates the camera quickly to briefly show

a black male with a COVID mask on his face, wearing a green hoodie and "came pants."

            22.   The Young video does not show what caused the audible noise on the audio, does

not show 21 damaged parking mete1'(s), and does not show if or how the parking meter(s) in

question were damaged or who caused the damage.

            23.   Defendant Gustafson apparently during his investigation, also viewed a video

taken earlier in the day on May 30, 2020 which showed hundreds of individuals walking across

South Park Row on State Street during the Black Lives Matter march of May 30, 2020.

Defendant Gustafson referred to the video as coming "from our vice departmellt" (lleleinafter

referred to as "vice video.")

            24.   Defendant Gustafson claimed that the masked individual briefly seen in the

Young video was also the same person present on the vice video from several hours earlier but

without a mask on.

            25.   Defendant Gustafson claims to have made a. still photo from the vide video of the

individual in question and sent it to all sworn police personnel in an attempt to identify the

P€1'SOI1.


            26.   In response to defendant Gustafson's inquiry, defendant Stevens allegedly

responded by emailing defendant Gustafson and indicating that "he believed the individual

[pictured] to be Todrick Anington In." No basis or explanation was given as to how this

identification was made.
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        27.    Defendant Gustafson allegedly then contacted Erie County Probation Office and

Agent Kissel to ask whether the person in the still photo was Mr. Arrington. Defendant Kissel

allegedly replied that "he believed it was [Al'rington]."

        28.    Defendant Kissel then allegedly asked his supervisor, Ashley Clark, who had no

Knowledge of the plaintiffs appearance, to confirm that the person in the still photo was Mr.

Arrington. Apparently defendant Clark some®how confirmed that the person pictured was Mr.

Arrington.

        29.    Plaintiff A1'ring'con has a tattoo of a crown clearly visible on the top of his right

hand and wrist and Mr. An°ington had this tattoo at all relevant times including from at least

2018 and throughout 2020. Any individual who had any actually met with the plaintiff, including

his parole officer, would have been aware of the existence of the tattoo due to its obviousness

and the fact that it is not covered by any clothing or otherwise restricted from view.

        30.    The individual pictured in the still photo from the vice video clearly does not have

any tattoo on his right hand.

        31.    Defendants Gustafson, Stevens, Kissel, and Clark either were not familiar enough

with Plaintiff to identify him as the person pictured in the still photograph, or in the alternative,

falsely identified Arrington as the person pictured knowing that this was inaccurate.

       32.     Defendant Gustafson used the clearly mistaken identification as an allegation in

the Affidavit of Probable Cause which led to wa1'r2u1t of Ernest being issued for Plaintiff

Anington on or about June 4, 2020.

       33.     Plaintiff Awington was arrested on or about July 2, 2020 by four city of Erie

Police Officers while he was sleeping and was immediately taken into custody,
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        34.        After being nested and taken into custody by the Erie County Police

Depa1*t1ne11t, the   Plaintiff Arrington was transpoxted to Erie County Prison at which time prison

personnel asked plaintiff without any prompting by plaintiff, about the Black Lives Matter

protest and at least one prison guard laughed about the questionable identification oflthe plaintiff

in the vice or Young video. Thus, even prior to being processed and taken into custody it was

clear prison personnel were already aware of the allegations and factual scenario that led to

Arrington's Ernest.

        35.     Plaintiff Arrington protested his innocence, specifically indicating that he was not

the person in the photo and further, that he had an alibi witness. For over one year thereafter,

plaintiff repeatedly protested his innocence by letter and othelwise, by specifically pointing out

that the video evidence and the alibi witness should exonerate him. These communications were

completely ignored by Eric County Prison, City of Erie Police Department, and Erie County

District Attorney's Office.

        36.     In addition, the Plaintiff"s sister, Toni Arrington, repeatedly communicated with

representations of each of the defendants in an effort to establish the misidentification of her

brother.

        37.     During the course of his imprisomnent, Plaintiff Arrington produced alibi witness

statement, photographs of his tattoo and other exculpatory evidence, all of which were ignored

by Defend ants .

        38.     A public defellder, Victoria Hermann was assigned to Mr. A1Tington's defense

and during a p1'elimina1'y hearing, ignored the statements of her client and instead, inexplicably

appeared to concede that the person in the still photograph was pldntifi
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        39      As a result of failure to properly investigate and ignol'ing exculpatory evidence

resulted in Mr. Arrington being incarcerated prior to trial from on or about 7/2/20 to on or about

8/13/21.

        40.     Plaintiff Anington then hired a private attorney, Michael Haxmon, Esquire, who

likewise pointed out, to the district attorney's office, the mistaken identity, the alibi witness and

the other exculpatory evidence, all of which the district attollley's office again ignored and

refused to consider.

        41.     Instead, the Erie District Attorney's Office proceeded with a trial after plaintiff

Arrington refused to plea to offenses that he did not commit.

        42.     Shortly before the criminal trial began, this matter was reassigned from defendant

Downing to defendant Ho1*con, a black assistant district attorney, who was not previously

involved in the case. Defendant Honor informally indicated to Plaintiff Arrington and his

defense counsel that she was "simply doing her_iob" and implied that there may have been a

misidentification.

        43.     Flaintiff Arriugtoll underwent criminal trial in August 2021 during which time the

exculpatory evidence was submitted and the district attorney's office, police offlcers, and other

defendants provided 110 evidence contradicting the misidentiiication of the defendant. As a result

of the trial the plaintiff was acquitted on all charges.

        44. During his detention from July 2020 to August 2021 at the Erie County Prison,

Plaintiff Arrington was mistleated and exposed to cru©I and unusual punishment while in the

custody of the Erie County Prison. In palliculzu', Mr. Allington was placed in a cell with a violent

and known racist criminal and despite Mr. Arrington's pleas for his safety, Mr. Arrington was
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required to remain in the cell with this inmate which, as expected, resulted in the plaintiff being

assaulted repeatedly.

          45.    In addition, during his detention the Plaintiff began to suffer severe physical and

mental problems which were ignored by the Erie County Prison personal. Eventually when a

medication was prescribed to address Mr. A1Tington's mental condition that medication was later

inexplicably discontinued by the Erie County Prison without a medical basis.


         COUNT I -- SECTION 1983 vs. DEFENDANTS GUSTAFSON AND STEVENS

          46.    Paragraphs I through 45 are hereby incolporated herein by 1efe1'ence as if fully set

forth.

          47.    Defendants Gustafson and Stevens had a duty, when acting under color of law, to

act in a manner that did not violate Plaintiffs constitutional rights guaranteed under 42 USCA

Section 1983 and the United States Constitution including the 401 and 14"* Amendments,

          48.   Defendants Gustatlsolt and Stevens breached that duty, under color of state law, by

acting in a manner without lawful justification, intentionally, maliciously and/or with a deliberate

indifference to O1` a reckless disregard for the natural and probable consequences for their acts.

These acts were in the natl.1re of:

                a.      Fabricating and/or manufactul'ing evidence to obtain an arrest wal'rant

         against Plaintiff,

                        Fabricating and/or manufacturing evidence which led to Plaiiltiffs all'cst

         and Plaintiff being accused of a crime,

                C.      Knowing that the person pictured in the Young video and vice video that

         formed the basis for the surest wanant was not Plaintiff and/or failing to take the

         necessary steps to determine that it was not the plaintiffpichlredg
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                d.     Knowing and/or learning that the person pictured in the video was not the

        Plaintiff and yet refusing to provide this exculpatory evidence to Plaintiff or the court

        system,

                       Knowing or by the exercise of reasonable investigation leaining that the

        Young video did not show either the commission of a crime or that any individual on the

        video was connected with a crime,

               f.      Withholding evidence that would have or should have led to dismissal of

        charges against PIaintif£

               g.      Allowing Plaintiff to be incarcerated for over one year despite knowing of

       his innocence, and

               h.      Encouraging probation officers and others to identify Plaintiff as person

       pictured in the video by leading questions and other inappropriate means .

       49.     The actions by Defendants Gustafson and Stevens, including withholding,

fabricating and concealing evidence, and failing to con'ect mistakes arising from that evidence

constituted a knowing deception of the Court and others in violation of Plaintiffs due process

rights that these actions go beyond a Brady violation.

       50.     Defelldant's actions as set folth above in breaching their duty to not act in a

manner that violated the Plaintiffs constitutional rights resulted in and caused injury and damage

to Plaintiff. Such damage includes:

               a.      Deprivation of liberty and other basic rights;

               b.      Serious physical injury and damage including increased blood pressure

       and physical assault injuries,

               C.      Psychological and emotional injuries,
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                d.     Costs of medical and psychiatlic treatment,                                     .
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                       Loss of employmellt and wages,                                                  ...

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                f.     Extreme humiliation and embamissment,                                           .
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                g.     Costs and expenses related to detention/incmceration,

                h.     LOSS of enjoyment and pleasure of life,

                i.     Legal costs and fees in defense of Plaintiffs criminal case,

               3.      Legal costs and fees incurred in Plaintiffs civil rights action, and

                k.     Punitive damages.

         WHEREFORE, the Plaintiff, Todrick Arrington, 1'especti'u11y requests thatjudgement be

entered against defendants Gustafson and Stevens, acting under the color of State Law, in an

amount in excess of the arbitration limits and to include attorney's fees as appropriate under

statute, punitive damages and other damages that this court deems just or that justice requires.


         COUNT II -- SECTION 1983 vs. CITY OF ERIE POLICE DEPARTMENT

         51.   Paragraphs 1 through 50 are hereby incozporated herein by reference as if fully set

forth.

         53.    City of Erie Police Department had, in effect, actual and/or deface policies,

practices, customs, and usages that were a direct and proximate cause of the unconstitutional

conduct of individual Defendants in this case, including Defendants Gustafson and Stevens.

         54.   City of Erie Police Department failed to properly train, supervise, or discipline its

police officers, including but not limited to, Defendants Gustafson and Stevens concerning the

connect practices in investigation ofcl'itlles, avoidance of racial profiling, proper assessment of

probable cause, assembling and evaluating evidence to obtain an arrest warrant and an arrest,

failing to share exculpatory evidence, and avoidance of improper and deficient police work.
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        55.    Defendant City of Erie, being aware that such lack ofiraining, supervision and

discipline leads to improper conduct by its employee police officers, acted with deliberate

indifference in failing to establish a program of effective training, supervision and discipline.

        56.    Defendant City of Erie is aware of the persistent and substantial risk of improper

detention of persons based on insufficient or incorrect warrant information and, that effective

training, supervision, and discipline would have lessened the likelihood of this occurrence. There

are recurrent circumstances involved which create potential danger to the constitutional rights of

citizens and are officially tolerated by Defendant City of Erie. Such policies, practices, customs,

and usages were a direct and proximate cause of the conduct alleged and otherwise a direct and

proximate cause of the harm to Plaintiff in violation of the Plaintiffs rights as gualanteed by 42

USCA Section 1983 and the 4*h and 1401 amendments of the United States Constitution.

               56.     As a result of these actions, the Plaintiff suffered:

               a.      Deprivation of liberty and other basic rights;

               b.      Serious physical injury and damage including increased blood pressure

       and physical assault injuries,

               C.      Psychological and emotional injuries,

               d.      Costs of medical and psychiatric treatment;

               e.      Loss of employment and wages,

               f.      Extreme humiliation and embarrassment,

               g.      Costs and expenses related to detention/incarce1'atio11,

               h.      Loss of enjoyment and pleasure of life,

               i.      Legal costs and fees in defense of Plaintiffs criminal case;

                       Legal costs and fees incurred in Plaintiffs civil rights action; and
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                k,      Punitive damages.

          WHEREFORE, the Plaintiff, Todrick Arrington, respectfully requests that judgment be

entered against defendant City of Erie, in an amount in excess of the arbitration limits and to

include attorney's fees as appropriate under statute, punitive damages and other damages that

this court deems just or that justice requires .


          COUNT III ... FALSE ARREST AND IMPRISDNMENT vs. DEFENDANTS
                        GUSTAFS<>N, STEVENS AND CITY OF ERIE

          57.   Paragraphs 1 through 56 are hereby incorporated herein by reference as if fully set

forth.

          58.   Defendants Gustafson, Stevens and City of Erie violated its duty to Plaintiff as a

citizen by falsely arresting him without probable cause, and/or arresting him with a wairant that

was obtained illegally.

          59.   These improper actions of Defendants resulted in the Plaintiff" S incarcel'atioll and

imprisonment for over one year despite the fact that Plaintiff was improperly arrested without

probably cause and with an arrest warrant had been obtained illegally

          60.   As a result of the actions of Defendants in falsely arresting and imprisoning

Plaintiff, Plaintiff suffered direct and proximate damages in the nature of:

                a.      Deprivation of liberty and other basic rights;

                b.      Serious physical injury and damage including increased blood pressure

         and physical assault injuries,

                C.      Psychological and emotional injuries,

                        Costs ofmedical and psychiatric treatment;

                        Loss of employment and wages,

                f.      Extreme humiliation and elnbauassmellt,
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                 g.      Costs and expenses related to dete11tion/inca1'ce1'ation,

                 h.     Loss of enjoyment and pleasure of life,

                 i.      Legal costs and fees in defense of Plaintiffs criminal case,

                 j.     Legal costs and fees incurred in Plaintiffs civil rights action; and

                 k.      Punitive damages.

          WHEREFORE, the Plaintiff, Todrick Arrington, respectfully requests that judgment be

entered against Defendants Gustafson, Stevens and City of Erie, in an amount in excess of the

arbitration limits and to include attorney's fees as appropriate under statute, punitive damages

and other damages that this court deems just or that justice requires,




            COUNT IV -- SECTION 1983 vs. DEFENDANTS KISEL AND CLARK

          61.    Paragraphs 1 through 60 are hereby incoxporated herein by reference as if fully set

forth .

          62.    Defendants Kissel and Clara, when acting under the color of state law, have a

duty to act in a mauler that does not violate Plaintiff's constitutional rights guaranteed under 42

USCA Section 1983 and the United States Constitution, including the 4th and 14"' Amendments.

          63.    Defendants Kissel and Clark breached that duty by acting under color of state law

in a manner without lawful justification, intentionally, maliciously, and/or with a deliberate

illcliffel'ence to or a reckless disregard for the natural and probable consequences of their actions.

These actions were in the nature of:

                 a.     Falsely identifying Flaintiff as the person pictured in the photograph sent

          by Defendant Gustafson and thereby falsely accusing Plaintiff of 8. crime;
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             b.       Providing illegal and improper witness against Plaintiff without

      knowledge of accuracy of the statements provided and with full knowledge of the natural

      and probable consequences of their actions i.e. Plaintiffs arrest and incarceration;

             C.       Participating in Defendants Gustafson and Steven's misidentification of

      Plaintiff when Defendants Kissel and Clark knew the same to be untrue or with the

      exercise of reasonable diligence would have known the same to be untrue, and thus, with

      deliberate indifference to the rights of Plaintiff;

             d.       Knowingly providing misidentification of the Plaintiff with knowledge

      that this independent misidentiiication would support an arrest warrant leading to the

      arrest and incarceration of the Plaintiff for a crime he did not commit, and

             e.       Failing to conest The misidentification at any point in time before

      Plaintiff s arlest or amer Plaintiffs arrest and during his inca1ce1'ation/detention.

      64.    Defendants actions as set forth above caused injury and damage to Plaintiff. Such

damage included:

             a.      Deprivation of Iibexty and other basic rights;

             b.      Serious physical injury and damage including increased blood pressure

      and physical assault injuries,

             c.      Psychological and emotional injuries,

             d.      Costs of medical and psychiatric treatment,

             e.      Loss of employment and wages,

                     Extreme humiliation and embarrassment;

             g.      Costs and expenses related to detention/incarceration,

             h.      Loss of enjoyment and pleasure of life,
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               i.      Legal costs and fees in defense of Plairltiffs criminal case,

               j.      Legal costs and fees incurred 'm Plaintiffs civil rights action; and

               k.      Punitive damages.

         W1-IEREFORE, de Plaintiff Toddck Arrington, respectfully requests that judgement be

entered against Defendants Kissel and Clark, in an amount in excess of the arbitration limits and

to include attorney's fees as appropriate under statute, punitive damages and other damages that

this court deems just or that justice requires.


                     COUNT V -- SECTIGN 1983 vs. COUNTY OF ERIE

         64.   Paragraphs 1 through 63 are hereby incorporated herein by reference as if fully set

forth.

         65.   Defendant County of Erie had, in effect, actual and/or defacto policies, practices,

customs, and usages that were a direct and proximate cause of the unconstitutional conduct of

individual Defendants in this case including Defendants Kissel and Clark.

         66.   County of Erie failed to properly train, supervise, or discipline its probation

officers including Defendants Kassel and Clark regarding identification of perpetrators during

crime investigations, providing evidence to City of Erie Police Department for purposes of

obtaining arrest warrants and pwperly confirming identification and evidence used against

individuals for such purposes.

         67,   Defenciam County of Erie, being aware that such lack of training, supervision and

discipline leads to improper conduct by its employee parole officers, acted with deliberate

indifference in failing to establish a program of effective training, supervision and discipline.

         68.   Defendant County of Erie is aware of the persistent and substantial risk of

improper detention of persons based on insufficient or incorrect warrant information and
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effective training, supervision, and discipline would have lessened the likelihood such

occurrences. There are 1'ecu1'rent circumstances involved which create potential danger to the

constitutional rights of citizens and are officially tolerated by Defendant County of Erie. Such

policies, practices, customs, and usages were a direct and proximate cause of the conduct alleged

and otherwise a direct and proximate cause of the harm to Plaintiff in violation of the Plaintiff" s

rights as guaranteed by 42 USCA Section 1983 and the 4th and 1401 Amendments of the United

States Constitution.

       69.     As a result of these actions, the Plaintiff suffered the following damages:

               a.      Deprivation of liberty and other basic rights,

               b.      Serious physical injury and damage including increased blood pressure

       and physical assault injuries,

               c.      Psychological and emotional injuries,

               d.      Costs of medical and psychiatric treatment,

               e.      Loss of employment and wages,

               f.      Extreme humiliation and embarrassment,

               g.      Costs and expenses related to detentioWiucarceration,

               h.      Loss of enjoyment and pleasure of life,

               i.      Legal costs and fees in defense of Plaintiffs criminal case;

               5.      Legal costs and fees incun'ed in Plaintiffs civil rights action; and

               k.      Funitive damages.

       WHEREFORE, the Plaintiff; Todrick Arrington, respectfully requests that judgment be

entered against Defendant County of Erie, in an amount in excess of the arbitration limits and to
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include attorney's fees as appropriate under statute, punitive damages and other damages that

this court deems just or that justice zequires.
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COUNT VI - MALICIOUS PROSECUTION vs. DEFENDANTS DOWNING, HORTON,
                      GUSTAFSON AND STEVENS

         70.    Paragraphs 1 through 69 are hereby incorporated herein by reference as if iillly set

forth.

         71.    Defendants Downing, Hollon, Gustafson and Stevens maliciously prosecuted

Plaintiff despite the knowledge that he had not perpetrated the crime in question and that not

only was there no evidence of him being involved in the crime, but the evidence actually proved

his innocence. These actions in maliciously prosecuting Plaintiff included the following:

                a.      Pursuing the prosecution despite knowledge of exculpatory evidence,

                b.      Failing to produce exculpatory evidence to the Could and to Plaintiff;

                C.      Allowing the Plaintiff to arrested, detained and incarcerated for over 1

         year while awaiting a trial despite knowledge of his innocence,

                d.      Refusing to address and/or ignoring the evidence that Plaintiff was

         improperly tested and improperly changed with 8 crime, and

                e.      Proceeding to trial with full knowledge of Plaintiffs innocence and/or

         without sufficient evidence to result in a conviction of Plaintiff.

         72.    As a result of these acts and conduct of the Defendants, Plaintiff suffered direct

and proximate injury and damage and suffered violation of his statutory and common law rights

guaranteed by the laws and Constitutions of Fexmsylvania and the United States, These damages

included the ibllowingz

                a.      Deprivation of 1ib(~:1"Ly and other basic rights,

                b.      Serious physical irgiury and damage including increased blood pressule

         and physical assault injuries,
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                 C.      Psychological and emotional injuries,

                 d.      Costs of medical and psychiatric treatment,

                 e.      Loss of employment and wages ,

                 f.      Extreme humiliation and embarrassment,

                 g.      Costs and expenses related to detention/incarcelation,

                 11.     Loss of enjoyment and pleasure of life,

                 i.      Legal costs and fees in defense of Plaintiffs criminal case;

                 j.      Legal costs and fees incurred in Plaixltiffs civil rights action, and

                 k.      Punitive damages.

         WHEREFORE, the Plaintiff Todrick Arrington, respectfully requests that judgement be

entered against Defendants Downing, Horton, Gustafson and Stevens, in an amount in excess of

the arbitration limits and to include attorney's fees as appropriate under statute, punitive damages

and other damages that this court deems just or that justice requires.


               COUNT VII -. SECTION 1983 VS DEFENDANT COUNTY OF ERIE

         73.     Pa1'ag1aphs 1 through 72 are hereby inco1'po1ated hereilm by reference as if fully set

forth.

         74.     Defendant County of Erie had, in effect, actual and/or deface policies, practices,

customs, and usages that were a direct and proximate cause of the unconstitutional conduct of

individual Defendants in this case including Defendants Downing and I~Ierton.

         75.     Defendant County of Erie failed to properly train, supervise, or discipline its

assistant district attorneys including Defendants Downing and I~Iorton regarding proper

procedure in handling exculpatory evidence, determining whether to pursue prosecution,

understanding and evaluation sufficiency of evidence agdnst a criminal defendant, exhibiting
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truth and candor to the Court and its officials and acting in a maimer that did not violate the

Constitutional rights of criminal defendants.

       76.     Defendant County of Erie, being aware that such lack of training, supervision and

discipline leads to improper conduct by its employee assistant district attorneys, acted with

deliberate indifference in failing to establish a program of effective gaining, supervision and

discipline.

       77.     Defendant County of Erie is aware of the persistent and substantial risk of

improper and malicious prosecution of persons based on insufficient or inaccurate evidence, and

that effective training, supervision, and discipline would have lessened the likelihood such

occurrences. There are recun'ent circumstances involved which create potential danger to the

constitutional rights of citizens and ate officially tolerated by Defendant County of Erie. Such

policies, practices, customs, and usages were a direct and proximate cause of the conduct alleged

and otherwise a direct and proximate cause of the harm to Plaintiff in violation of the Plaintiff' s

rights as guaranteed by 42 USCA Section 1983 and the 4'h and 14th Amendments of the United

States Constitution.

       78.     As a result of these actions, the Plaintiff` suffered:

               a.      Deprivation of liberty and other basic rights;

               b.      Serious physical injury and damage including increased blood pressure

       and physical assault injuries,

               C.      Psychological and emotional injuries,

               d.      Costs of medical and psychiatric twatmeut,

               e.      Loss of employment and wages,

               f.      Extreme humiliation and embarrassment,
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                  g.      Costs and expenses related to detention/incarceration,

                  h.     Loss of enjoyment and pleasure 0>IIit.e,

                  i.     Legal costs and fees in defense of Plailltiff's criminal case,

                  i.     Legal costs and fees incur°ed in Plaintiffs civil rights action; and

                  k.     Punitive damages.

          W HEREFORE, the Plaintiff, Todrick Arrington, respectfully requests that judgement be

entered against Defendant County of Erie, in an amount in excess of the arbitration limits and to

include attorney's fees as appropriate under statute, punitive damages and other damages that

this couxi deems just or that justice requires.


      COUNT VIII LEGAL MALPRACTICE VS DEFENDANTS HERMANN AND
                           COUNTY OF ERIE
          79.     Paragraphs I through 78 are hereby incorporated herein by reference as if fully set

foxing.


          80.     Defendant Helmann, in her capacity as Erie County Assistant Public Defender

negligently, improperly and unskillfully represented Plaintiff in his criminal case when proper

representation would have allowed Plaintiff to have been released from irrcareeration. These

negligent and improper actions included the following:

                  El.    Failure to challenge the lack of probable cause to hold Plaintiff,

                  b.     Failure to file a petition for habeas corpus during Plaintiffs incarceration;

                  c.     Failure to dispute that the person pictured on the video was not the

          Plaintiff;

                  d.     Failure to request and present exculpatory evidence,

                  e.     Failure to contest improper and/or manufactured evidence,
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                       Failure to appropriately and timely file motion to dismiss based on the

        exculpatory evidence, the manufactured evidence and the misidentification; and

               g.      Failure to properly defend Plaintiff and take the necessary actions in

       representing Plaintiff such that Plaintiffs innocence could be established.

        81.    The actions of Defendants Hermann and County of Erie Public Defender's Office

resulted in damages to plaintiff including the following:

               a.      Deprivation of liberty and other basic rights;

               b.      Serious physical injury and damage including increzlsed blood pressure

       and physical assault injuries,

               c.      Psychological and emotional injuries,

                       Costs of medical and psychiatric treatment,

               e.      Loss of employment and wages,

               f.      Extreme humiliation and embarrassment,

               g.      Costs and expenses related to detention/incarceration;

               11.     Loss of enjoyment and pleasure of life,

               i.      Legal costs and fees in defense of Plaintiffs criminal case,

               j.      Legal costs and fees incurred in P1aintiH's civil rights action; and

               k.      Punitive damages.

       82.     In addition, County of Erie Public Defenders Office failed to properly train,

supervise or discipline its assistant public defenders including Defendant l~le1rnann concen1i11g

the proper manner of representing a criminal Defendant including the need to raise defenses,

obtain and present exculpate evidence, challenge improper and illegal evidence or
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misidentification of witnesses, challenge probable cause and the basis for alTest waxraut and

similar practices necessary to zlpp1'op1'iately represent criminal defendants.

        83.      As a result of this failure to propel'Iy train, supervise and discipline, Plaintiff' s

constitutional rights ware violated in the he was illegally arrested, detained and forced to

undergo trial.

        84.      Defendant County of Erie Public Defender's Office being aware that such lack of

training, supervision and discipline leads to improper conduct by its employee public defenders,

acted with deliberate illdiflfereuce in failing to establish a program of effective trailulng,

supervision and discipline.

        85.      Defendant County of Erie is aware of the persistent and substantial risk of

negligent and unskillful representation of criminal defendants and that effective training,

supervision and discipline would have lessened the likelihood of such OCClLl1€I1C€S. There are

recurrent circumstances involved which create potential danger to the constitutional rights of

citizens and are officially tolerated by Defendant County of Erie. Such policies, practices,

customs, and usages were a direct and proximate cause of the conduct alleged and otherwise a

direct and proximate cause of the harm to Plaintiff in violation of the Plaintiffs rights as

guzwanteed by 42 USCA section 1983 and the 4"1 and 14"' amendments of the United States

Constitution.

        WHEREFORE, the Plaintiff, Todrick Arrington, respectfully requests that judgment be

entered against Defenclaxmts Victoria Herlnaltn and County of Erie in an amount in c-zxcess of the

arbitration limits and to include attorney's fees as appropriate under statute, punitive damages

and other damages that this 4:01111 deems just or that justice requires.
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  COUNT IX .-. CONSPIRACY TO VIOLATE CIVIL RIGHTS vs, ALL DEFENDANTS

           83.    Paragraplls 1 through 82 are hereby incorporated herein by reference as if fully set

forth.

           84.    Defendants City of Erie Police Department, Gustafson, Stevens, Erie County

Probation Office, Kissel, Clara, Erie County District Attorney's Office, Downing, Horton, Erie

County Prison and John Does (EC Prison Guards) together in their individual capacity and under

color of state law conspired, assisted and facilitated violation of the Plaiiitiffs civil rights as set

forth in counts        of this complaint by acting in concell with each other in the actions set forth

therein.

         85.      Each individual Defendant expressly or tacitly agreed to act in concert with other

Defendants in violating Civil Rights which agreement manifested itself in the following actions:

                  a.     Targeting or singling out Plaintiff to Hams for a crime,

                  b.     Intentionally creating, misintelpl'eting and imp1'ope11y stretching available

         evidence in order to falsely accuse Plaintiff of a crime;

                  C.     Actively 01' passively agreeing in the misidentification of Plaintiff as the

         pelpetrator of a crime and the individual pictured in the videotape,

                 d.      Knowingly assenting to and ooniirming information clearly not evidence

         of the Plaintiffs wrongdoing or not sufficient to suppoli a warrant for arrest,

                 e.      Participating in manufacturing and creating evidence to support The

         issuance of an arrest wa1'1a11t for Plaintiff with lawwledge that this constituted a

         misrepresentation to a court of law,

                 f.      Allowing Plaintiff to be awested and detained without sufficient evidence

         of his involvement in the alleged crime,
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                g.      Maintaining and continuing imprisonment and incarceration of the

        Plaintiff for over one year while he awaited trial for a crime that Defendants' knew that

        he did not commit,

                h.      Pursuing trial against Plaintiff despite knowing that he did not commit the

        crime for which he was being prosecuted, and

                i.      Withholding and concealing evidence that would have exonerated Plaintiff

        and led to his release from prison.

        86.     As a result of the Defendants' joint conspil'acy to violate to Civil Rights of the

Flaintiff as set forth in counts    2   in direct violation of Section 1985 and the constitution of the

United States directly led to the violation of the Flaintiffs civil rights as set faith above.

        87.     As a result of the actions of Defendants' resulting 'm violation of the Plaintiffs

civil rights and causing damage to the person and propel'ty of Plaintiff some of which are

permanent and some of which are preventable some of which are the following:

                El.     Deprivation of liberty and other basic rights;

               b.       Serious physical injury and damage including increased blood p1essu1e

        and physical assault injuries,

                C.     Psychological and emotional injuries,

                d.     Costs of medical and psychiatric treatment;

               e.      Loss of employment and wages,

                f.     Extreme Humiliation and embarrassment;

                       Costs and expenses related to detention/incarceration,

               11.     Loss of enjoyment and pleasure of life,

               i.      Legal costs and fees in defense of Plaintiffs criminal case;
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                5.      Legal costs and fees incurred in Plaintiffs civil rights action; and

                k.      Funitive damages.

          WHEREFORE, the Plaintiff, Todrick Arrington, respectfully requests thatjudgement be

entered against all Defendants, in an amount in excess of the arbitration limits and to include

attorney's fees 8S appropriate under statute, punitive damages and other damages that this court

deems just or that j ustice requires.


 COUNT X ... SECTION 1983 CIVIL RIGHTS vs. ERIE COUNTY PRISON AND JOHN
                         DOE PRISON OFFICIALS

         88.    Paragraphs 1 through 87 are hereby incorporated herein by reference as if fully set

forth.

         89.    Beginning of June _, 2020, Plaintiff Alrington was incarcerated at Erie County

Prison and remained incarcerated until               . During this timeframe he had not yet

undergone trial ad was considered a pre-trial detainee.

         90.    During his imprisonment in Erie County Prison at various times and repeatedly

prison officials including security guards and administration violated Mr. Amlngton's Civil

Rights in the nature of cruel and unusual punishment and in direct violation of Section 42 USC

Section 1983 and the 14'** amendment of the U.S. Constitution.

         91.    Such Behavior by Defendants constituted a violation of Plaintiffs Civil Rights in

that they involved unnecessary and wanton infliction of pain and suffering which was

incompatible with evolving standards of decency and society and constituted deliberate

indifference to the health and safety of Me Plai11tif£

         92.    These actions which violated Mr. A11'i11gton's Civil Rights and constituted

deliberate indifference included :
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                a.      Placing Plaintiff in a cell with another inmate when prison officials knew

       that this would result in physical assault and harm to Plaintiff,

               b.       Requiring Plaintiff to spend 23 out of every 24 hours isolated in

       confinement along with other denial of basic and necessary human needs during the

       incarceration.

               c.       Ignoring the PlaintifI"s need for medical and psychological treatment

       particularly when the deliberate indifference of prison officials is what caused the

       physical and mental harm in the first place,

               d.       Ridiculing, abusing and mistreating the Plaintiff on multiple occasions;

               e.       Targeting and singling out Plaintiff for harsher treatment that other

       P1ISOI1€IIS,


                f.      Acting as set forth above despite knowledge of Plai11tifFs innocence and

       fully aware of existence of exculpatory evidence; and

               g.       Otherwise denying humane treatment and treating Plaintiff in a manner

       that resulted in unnecessary infliction of pain and suffering.

       93.     As a result of Defendants' actions the Plaintiff suffered serious and pelinauent

damage including the following:

               El.      Deprivation of liberty and other basic rights;

               b.       Serious physical injury and damage including increased blood pressure

       and physical assault injuries,

               C.       Psychological and emotional injuries,

               d.       Costs of medical and psychiatric treatment,

               e.       Loss of employment and wages,
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                f.     Extreme humiliation and embarrassment,

               g.      Costs and expenses related to detention/incarceration,

               h.      Loss of mgoyment and pleasure of life,

               i.      Legal costs and fees in defense of Plaintiff's criminal case,

               j.      Legal costs and fees incurred in Plaintiffs civil rights action; and

               k,      Punitive damages.

        94.    Prison oiiicials and Defendant Erie County Prison created, required or facilitated

a policy or custom that caused the constitutional violation set folth above. This policy was,

although not written, so widespread and supported to have the "force of law" and as such the

Erie County Prison itself violated the Plainti&'s constitutional rights.

       95.     The Erie County Prison and its administration also violated the Pldnfiffs

constitutional rights by not properly hiring, training and controlling its employees such that they

would not act in a manner in deliberate indifference to the Plaintiff" S health and safety or

otherwise violate the Plaintiffs constitutional rights as set forth under 14'h amendment to the

U.S. Constitution and Section 1983.

       WHEREFORE, time Plaintiff; Todrick Arlington, respecttixlly requests that judgement be

entered against Defendants Erie Coun1;y Prison and John Doe Prison Guards, in an amount in

excess of the arbitlation limits and to include attorney's fees as appropriate under statute,

punitive damages and other damages that this court deems just or that justice requires .




                                            Respectfully submitted,
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                           By:
                                  13eter A. Pentz .
                                  Counsel for P if tiff
                                  2409 State sum
                                  Erie, PA 16504
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 TODRICK W. ARRINGTON, JR.                                        IN THE COURT OF COMMON PLEAS
                                                                  OF ERIE COUNTY, PENNSYLVANIA
                Plaintiff

        V.                                                        CIVIL ACTION -- LAW

 CITY OF ERIE POLICE DEPARTMENT,
 MATTHEW 1. GUSTAFSON; JERRY
  STEVENS; ERIE COUNTY PROBATION                                 no,                      . 2022
  OFFICE; ALEX KISSELL; ASHLEY
 CLARK; ERIE COUNTY DISTRICT
  ATTORNEYS OFFICE; EMILY
 DOWNING; K.HADJA HORTON; ERIE
 COUNTY PRISON; JOHN DOES (ERIE
 COUNTY PRISON GUARDS); VICTORIA
 I-IERMANN

               Defendants
                                           =l s
                                           \

                                         VERIFICATION
                                      ;~
       I, Todrick Arrington, Plaintiffiii the ;§>ve                          and states that the facts set

forth in the foregoing Civil complami Of               and              »the best of my knowledge,

information and belie£ This snalemcnjs me subject t                 o*pcnalties of 18 Pa. C. S. A. Section
                                                                                           P
4904 relating to unsworn falsification   autllqities.                         7


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